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                                    AFFIDAVIT
I, ANDREW JOHN INNOCENTI, being duly sworn, declare and state as follows:
                             I.     INTRODUCTION
      1.     I am a Special Agent with the Federal Bureau of Investigation
(“FBI”), and have been so employed since approximately March 2015. I am
currently assigned to the Los Angeles Field Office, High-Tech Organized Crime
Squad, where I primarily investigate cyber-enabled fraud and business email
compromise (“BEC”) schemes. Between approximately August 2015 and
December 2018, I was assigned to a cyber-crime squad in the Chicago Field
Office, where I investigated cyber-related crimes, including BEC cases. During
my career as an FBI Special Agent, I have participated in numerous computer-
crime investigations. In addition, I have received both formal and informal
training from the FBI and other institutions regarding computer-related
investigations, computer technology, and white-collar fraud.
      2.     This affidavit is made in support of a criminal complaint against, and
arrest warrant for, RAMON OLORUNWA ABBAS, also known as (“aka”) “Ray
Hushpuppi,” aka “Hush” (“ABBAS”), for violation of 18 U.S.C. § 1956(h)
(Conspiracy to Engage in Money Laundering).
      3.     The facts set forth in this affidavit are based upon my personal
involvement in this investigation, my review of reports and other documents
related to this investigation, my training and experience, and information obtained
from other agents, law enforcement officers, and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause for the requested
complaint and arrest warrant, and does not purport to set forth all of my knowledge
of the government’s investigation into this matter. Unless specifically indicated
otherwise, all conversations and statements described in this affidavit are related in
substance and in part only. Unless specifically indicated otherwise, all dates set

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forth below are “on or about” the dates indicated, and all amounts or sums are
approximate.
                  II.    SUMMARY OF PROBABLE CAUSE
      4.     RAMON OLORUNWA ABBAS is a Nigerian national living in the
United Arab Emirates (the “U.A.E.”), whose social media accounts frequently
show him in designer clothes, wearing expensive watches, and posing in or with
luxury cars and charter jets. The FBI’s investigation has revealed that ABBAS
finances this opulent lifestyle through crime, and that he is one of the leaders of a
transnational network that facilitates computer intrusions, fraudulent schemes
(including BEC schemes),1 and money laundering, targeting victims around the
world in schemes designed to steal hundreds of millions of dollars. ABBAS
participated in these fraudulent schemes and money laundering in coordination
with multiple coconspirators, including the persons referred to herein as
Coconspirator 1 and Coconspirator 2.
      5.     This affidavit discusses several fraudulent schemes involving
ABBAS. First, messages found on the iPhone of Coconspirator 1 (reviewed
pursuant to a federal search warrant issued in this District) reflect that ABBAS,
Coconspirator 1, and Coconspirator 2, with others, committed a BEC scheme that
defrauded a victim in the United States of approximately $922,857.76, including



      1
         BEC fraud schemes often involve a computer hacker gaining unauthorized
access to a business-email account, blocking or redirecting communications to
and/or from that email account, and then using the compromised email account or
a separate fraudulent email account (sometimes called a “spoofed” email account)
to communicate with personnel from a victim company and to attempt to trick
them into making an unauthorized wire transfer. The fraudster will direct the
unsuspecting personnel of the victim company to wire funds to the bank account of
a third party (sometimes referred to as a “money mule”), which is often a bank
account owned, controlled, and/or used by individuals involved in the scheme
based in the United States. The money may then be laundered by wiring or
transferring it through numerous bank accounts to launder the money, or by
quickly withdrawing it as cash, by check, or by cashier’s check.

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approximately $396,050 that ABBAS, Coconspirator 1, and Coconspirator 2
laundered while Coconspirator 2 was in Los Angeles, California.
      6.     Second, ABBAS and Coconspirator 1 conspired to launder funds
intended to be stolen through fraudulent wire transfers from a foreign financial
institution (the “Foreign Financial Institution”), in which fraudulent wire transfers,
totaling approximately €13 million (approximately USD $14.7 million), were sent
to bank accounts around the world in February 2019. Coconspirator 1 conspired
with the persons who initiated the fraudulent wire transfers, and also conspired
with a number of others, including ABBAS, to launder the funds that were
intended to be stolen. ABBAS, specifically, provided Coconspirator 1 with two
bank accounts in Europe that ABBAS anticipated would each receive €5 million of
the fraudulently obtained funds.
      7.     Other communications between ABBAS and Coconspirator 1 indicate
that, in addition to these schemes, ABBAS and Coconspirator 1 conspired to
launder tens, and at times hundreds, of millions of dollars that were proceeds of
other fraudulent schemes and computer intrusions, including a fraudulent scheme
to steal ǧ PLOOLRQ IURP an English Premier League football club.
                 III.   STATEMENT OF PROBABLE CAUSE

      A.     Identification of ABBAS

      8.     Analysis of Coconspirator 1’s iPhone and other online accounts
showed that Coconspirator 1 operated and tasked money mule crews for a number
of fraudulent schemes, including BEC schemes and cyber-heists. Analysis also
showed that Coconspirator 1 communicated with the U.A.E. phone number
+971543777711 (“Phone Number 1”) about multiple fraudulent schemes and
money laundering. As described below, Phone Number 1 was one of the phone
numbers ABBAS used during 2019 and 2020.


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      9.    Based on my review (pursuant to federal search warrants obtained in
this District) of data from Coconspirator 1’s iPhone and from an online account
connected to that phone (the “Online Account”), other law enforcement
personnel’s review of that digital data, and from discussions with United States
Secret Service (“USSS”) and FBI personnel, I know the following:
            a.     Coconspirator 1’s iPhone listed Phone Number 1
(+971543777711) with the contact name “Hush.” The phone also contained a
contact for Snapchat username “hushpuppi5,” which listed the Snapchat contact
name “The Billionaire Gucci Master!!!”
            b.     Searches of Phone Number 1 and the contact name “Hush” in
Coconspirator 1’s iPhone revealed messaging conversations between “Hush,”
using Phone Number 1, and Coconspirator 1. (For ease of reference,
communications with this moniker and Phone Number 1 are referred to as
communications with ABBAS in the remainder of this affidavit.)
      10.   In or around December 2019, April 2020, and June 2020, I reviewed
the publicly viewable Instagram account of “hushpuppi” at
www.instagram.com/hushpuppi. Based on information available on the profile
page, the user of that account made more than 500 posts and had 2.3 million
followers as of June 2020.
      11.   This Instagram account included numerous publicly viewable images
of a man who appeared to be ABBAS, based on comparisons to photographs of
ABBAS in passports and other identification documents referenced below in
paragraphs 16.c to 16.c.iv. Hundreds of these images on the Instagram account
showed ABBAS in designer clothing and shoes, posing on or in luxury vehicles,
wearing high-end watches, or possessing other luxury items, indicating substantial
wealth.



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             a.    For example, on June 6, 2020, ABBAS posted a photograph of
a white Rolls Royce Cullinan that included the hashtag “#AllMine.” On February
27, 2019, ABBAS posted a photograph of himself in front of two vehicles, one of
which he described as his new Rolls Royce Wraith. Based on review of publicly
available pricing information, the starting price for each of these vehicles is
approximately $330,000.
             b.    More than two dozen images showed ABBAS in front of, on
top of, or inside other luxury vehicles, including multiple models of Bentley,
Ferrari, Mercedes, and Rolls Royce.
             c.    On numerous occasions, ABBAS posted photos of himself
wearing items and/or holding shopping bags from luxury stores such as Gucci,
Louis Vuitton, Channel, Versace, Fendi, and more.
             d.    On multiple dates, including April 17, 2020, June 19, 2019, and
July 1, 2019, ABBAS posted images of himself inside or in front of private jets.
Multiple photographs also appeared to show ABBAS posing in locations around
the world (such as Dubai and Paris).




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      12.    This Instagram profile also claimed that the user was a real estate
developer and listed the user’s Snapchat account as “Hushpuppi5,” which is the
same Snapchat account name that was saved in Coconspirator 1’s iPhone (see
paragraph 9.a).
      13.    Based on records from Instagram received in June 2020, the
Instagram account was subscribed with the name “RAY,” the email address
rayhushpuppi@gmail.com, and the verified phone number +971502818689
(“Phone Number 2”). The Instagram account was created on October 10, 2012,
and recent account history from 2020 showed logins from Internet Protocol (“IP”)
addresses located in the U.A.E. 2 (ABBAS lives in the U.A.E., based on


      2
        Based on my training and experience, I know that an Internet Protocol
version 4 address, also known as an “IPv4 address,” or more commonly “IP
address,” is a set of four numbers, each ranging from 0 to 255 and separated by a
period (“.”) that is used to route traffic on the internet. A single IP address can

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information from his email and social media accounts, financial records, and
internet research, some of which is further discussed below.)
      14.    Based on subscriber records from Snap Inc., the Snapchat account
“Hushpuppi5” used the phone number +971565505984 (“Phone Number 3”) and
the email address rayhushpuppi@gmail.com (i.e., the same email as the Instagram
account). The Snapchat account used the display name “The Billionaire Gucci
Master!!!,” which was the same Snapchat contact name saved in Coconspirator 1’s
phone for the Snapchat account “Hushpuppi5.”
      15.    Records from Apple Inc. showed the following:
             a.    The email account rayhushpuppi@gmail.com was used to
create an Apple account on March 29, 2014, which was active as of May 2020, and
used the subscriber name “Ray Hushpuppi.”
             b.    The same email account was used in subscriber records of
another Apple account, which account records also listed the email address
rayhushpuppi@icloud.com and another Google account.
             c.    Phone Number 1 was listed in the subscriber records of a third
Apple account, which was created on November 7, 2019. The account listed the
subscriber name “Godisgood Godson” and the verified email address
godisgoodallthetime0007@gmail.com. Despite using that subscriber name, the
name “Ramon Abbas” (i.e., ABBAS) was listed in account records in December
2019 and January 2020. Apple records further listed a user’s address as 1706
Palazzo Versace, in Dubai, U.A.E. (the “Palazzo Versace” address).



manage internet traffic for more than one computer or device, such as when a
router in one’s home routes traffic to one’s desktop computer, as well as to one’s
tablet or smartphone, while all using the same IP address to access the internet. IP
addresses can be used to establish a person’s approximate—or, at times exact—
geographic location.

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                    i.    Records from Google for ABBAS’ email address
rayhushpuppi@gmail.com, which are described more below, included a lease
renewal/tenancy contract for the Palazzo Versace address for April 4, 2020 through
May 3, 2021, which also listed Phone Number 3. Posts on ABBAS’s Instagram
page also suggested that he lived at the Palazzo Versace apartments in Dubai,
U.A.E., including one that listed the location “Palazzo Versace Dubai.”
                    ii.   Google records, in turn, indicated that the email account
godisgoodallthetime0007@gmail.com, which used the subscriber name
“Godisgoodallthetime GraciousGod,” was both created and last logged into on
November 7, 2019. This email account was accessed on November 7, 2019 from
an IP address that geo-locates to the U.A.E. Google records for this account also
included several Apple invoices billed to ABBAS, which used the Palazzo Versace
address as the billing address.
      16.    Based on my review and an FBI computer scientist’s review of
Google account records for rayhushpuppi@gmail.com, obtained through legal
process and a federal search warrant in this District, I know the following:
              a.    The account used the subscriber name “Ray HushPuppi” and
was created on September 19, 2013. Additionally, the recovery email listed was
rayhushpuppi@icloud.com, and the recovery phone number was Phone Number 2.
              b.    Multiple emails in the email account rayhushpuppi@gmail.com
confirmed that ABBAS used Phone Number 1, Phone Number 2, and Phone
Number 3.
                    i.    As noted above, on April 6, 2020, an email sent to
rayhushpuppi@gmail.com contained a tenancy contract for the Palazzo Versace
address, with ABBAS listed as the tenant and Phone Number 3 as his phone
number.



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                  ii.    On February 6, 2020 and March 3, 2020,
rayhushpuppi@gmail.com was used to send Phone Number 1 to other persons,
which the account user described as “my mobile number” and “my phone
number,” respectively.
                  iii.   On December 13, 2019, a booking confirmation sent to
rayhushpuppi@gmail.com contained ABBAS’ full name, the Palazzo Versace
address, and Phone Number 3.
                  iv.    On August 14, 2019, an email sent to
rayhushpuppi@gmail.com containing a flight itinerary for ABBAS also listed
Phone Number 2.
                  v.     On July 11, 2019, an order receipt sent to
rayhushpuppi@gmail.com contained ABBAS’ name, the Palazzo Versace address,
and Phone Number 2.
                  vi.    On May 26, 2019, rayhushpuppi@gmail.com was used to
send an email containing ABBAS’ name as well as Phone Number 1 and Phone
Number 2 as contact numbers.
                  vii.   On May 25, 2019, rayhushpuppi@gmail.com was used to
send an email (regarding a U.A.E. bank transaction that was blocked) and the
sender listed Phone Number 2.
                  viii. On February 5, 2019, an online order confirmation email
sent to rayhushpuppi@gmail.com included both ABBAS’ name and Phone
Number 1.
                  ix.    On November 4, 2018, an email containing a flight
itinerary for ABBAS also listed Phone Number 3.
             c.   Multiple emails in the email account also contained
photographs or scans of several foreign identification documents for ABBAS.



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                      i.    On September 12, 2017, rayhushpuppi@gmail.com sent
a photograph of the Federal Republic of Nigeria passport of ABBAS, with a
passport number ending in 2132. The passport was issued in Malaysia in 2015,
stated that ABBAS is a Nigerian citizen, and listed ABBAS’ birthday as October
11, 1982.
                            (I)   The photograph of this Nigerian passport was
included with a photograph of a U.A.E. Resident Identity card in ABBAS’ name,
containing his picture and an ID number ending in 9431. The email transmitting
both photographs stated that they were the sender’s “identity and passport page
followed by my real Instagram page.” Consistent with that statement, the email
also included a screenshot of the Instagram account @hushpuppi, which also
showed the Snapchat username “Hushpuppi5.”
                      ii.   On February 23, 2020, rayhushpuppi@gmail.com sent an
email containing a photograph of a different Federal Republic of Nigeria passport
of ABBAS, with a passport number ending in 5915, as well as a U.A.E. visa with
the same resident ID number ending in 9431. Both the passport and U.A.E. visa
are pictured below.




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                    iv.    The photographs on these four identifications were
consistent with each other and were also consistent with photographs I have seen
of ABBAS, including photographs on his publicly viewable social media accounts
described in this affidavit.
              d.    The email account rayhushpuppi@gmail.com also contained
photographs or scans of foreign identification documents of approximately 13
persons other than ABBAS, of different nationalities (including Nigeria, U.K.,
Kenya, U.A.E., U.S.A., and Pakistan).
              e.    Based on bank statements and transaction confirmations found
in the email account rayhushpuppi@gmail.com from June 2016 to April 2020,
ABBAS had financial accounts in Nigeria and the U.A.E. in his name. Moreover,
emails from rayhushpuppi@gmail.com also showed that ABBAS conducted
financial transactions and/or transfers with individuals believed by the FBI to be
coconspirators, including a target of an investigation by the FBI in Chicago.
Transaction confirmation emails included transfer amounts and the name of the
sending or receiving accounts for those transfers.
              f.    The email account rayhushpuppi@gmail.com also contained
emails with attachments relating to wire transfers in large dollar values, including
wire transfers in February 2018 in the amounts of $250,000 and $2,397,000.
Based on the context of the emails, as well as other information gathered during
the FBI investigation about one of the sender email accounts, it appears that these
emails were related to fraudulent transactions.
      17.    Other financial records corroborate ABBAS’ identity.
              a.    Records from Western Union indicate that two money
transfers—one listing Phone Number 1 and one listing Phone Number 3—
occurred in UAE in 2018, in which the sender was listed as ABBAS, with a
birthdate of October 11, 1982, and using an identification bearing the same

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number (ending in 9431) as the U.A.E. Resident Identity card, referenced in
paragraph 16.c.i(I).
             b.    That same U.A.E. Resident Identity card was also used in
connection with two MoneyGram transactions in 2018, in which ABBAS, who
again listed a birthdate of October 11, 1982 and address in U.A.E., received funds.
In those two transactions, as well as several other transactions through
MoneyGram, ABBAS listed Phone Number 3.
      18.   Other evidence corroborates that ABBAS’ birthdate is October 11,
1982, and that he is “Ray Hushpuppi.”
            a.     A United States non-immigrant visa application submitted in
December 2012 listed ABBAS’ full name and his birthdate as October 11, 1982.
            b.     Moreover, on April 14, 2020, I reviewed information publicly
viewable on the profile of the above-referenced “hushpuppi” Instagram account
that is consistent with ABBAS’ birthdate being on or about October 11.
Specifically, on October 12, 2018, the account posted an image of a birthday cake
with the inscription “Happy Birthday” and included the caption “Thank you all so
much for the love you showed me yesterday till now. I love you all and thanks
@fendi @mohammedabdelnabi for the cake. God bless you all.” I also saw a post,
on October 11, 2017, by that Instagram account of a birthday cake with the
inscription “Happy Birthday Ramon” and the caption “Thanks so much @gucci for
this special. God bless you guys at the Dubai Mall Gucci Store!!!”

      B.    The Victim Law Firm

      19.   In reviewing data from Coconspirator 1’s iPhone, I and another FBI
employee saw messages reflecting that, in or around October 2019, ABBAS had
conspired with Coconspirator 1 and Coconspirator 2 to commit a fraudulent wire
transfer and money-laundering scheme, in which a U.S. victim (the “Victim Law

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Firm”) lost approximately $922,857.76. The messages reflected that part of the
scheme, including acts in furtherance of the conspiracy, occurred while
Coconspirator 2 was physically present in the Central District of California.
      20.    Records obtained from JPMorgan Chase Bank (“Chase”) for a bank
account held in the U.S. (the “Chase Account”) reflect that the Chase Account
received a wire transfer on October 15, 2019 for approximately $922,857.76 from
the Victim Law Firm. On October 17, 2019, there was a wire transfer from the
Chase Account to an account at Canadian Imperial Bank of Commerce (“CIBC”),
in Toronto, Ontario, for approximately $396,050. Bank records reflect that the
specific account at CIBC ended in 1716 (the “CIBC Account”), consistent with
what is discussed below in paragraphs 21, 24, and 25. The remaining funds in the
Chase Account were transferred to other accounts.
      21.    Based on review of data from Coconspirator 1’s iPhone, on or around
October 17, 2019, ABBAS, using what appeared to be the Snapchat account
“hushpuppi5,” sent an image of a Chase wire confirmation to Coconspirator 1.
The image appeared to show a wire transfer form related to a transfer of
approximately $396,050 from the Chase Account to the CIBC Account, which,
based on other messages on Coconspirator 1’s iPhone, appears to have been held
by Coconspirator 2.3
      22.    On April 14, 2020, I interviewed S.R., owner of the Victim Law Firm,
about the above-referenced wire sent on October 17, 2019. On April 16, 2020, I
interviewed N.C., who was an attorney and co-worker of S.R., and on May 21,
2020, I interviewed K.C., a paralegal of the Victim Law Firm. Based on these
interviews, I learned the following:


      3
       The “Sender” information in the image was blocked by a Chase bank
business card, but other bank records show that this transaction involved the Chase
Account.

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             a.     The Victim Law Firm, which is located in New York State, was
representing a client, A.D., in the refinance of real estate.
             b.     A.D. was refinancing his/her property with Citizens Bank. As
part of the closing for this refinance, on October 15, 2019, K.C. sent a verification
email to what appeared to be a Citizens Bank email address (later identified as a
“spoofed” email address) requesting wire instructions. Per internal policy of the
Victim Law Firm, all wire verifications were to be sent to their firm via fax and
followed-up by a phone call. K.C. received a fax message in response to her
verification email with what was later determined to be fraudulent wire instructions
to transfer the loan payoff amount of their client A.D. to the Chase Account. K.C.
then called the phone number listed on the fax to verify the wire instructions.
             c.     On October 15, 2019, K.C. initiated the wire transfer to the
Chase Account for approximately $922,857.76.
             d.     Neither the Victim Law Firm, nor their client A.D., realized the
funds had been fraudulently transferred to the Chase Account until later in October
2019, when A.D. checked his/her account and realized that the funds for the
refinance had not been credited. By this time, all of the funds had been depleted
from the Chase Account. (I further understand from K.C. that, as of June 25, 2020,
no funds had been recovered.)
      23.    Messages on Coconspirator 1’s iPhone reflect that, at approximately
the same time on October 17, 2019 that ABBAS sent Coconspirator 1 an image of
the wire transfer confirmation for the transaction from the Chase Account to the
CIBC Account, Coconspirator 1 was communicating with another phone number
to confirm the wire had been deposited into the CIBC Account. Based on other
messages on the iPhone and records obtained by the FBI, that phone number was
used by Coconspirator 2.



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      24.    The communications between Coconspirator 1 and Coconspirator 2 on
October 17, 2019 included the following messages:

             Coconspirator 1: Keep lookout for the 396 and so ur
             thing till u hear from me
             Coconspirator 2: Ok will do
             Coconspirator 2: I’m in La so how can I make sure??4

      25.    Coconspirator 2 also sent Coconspirator 1 a photograph showing a
secure login to the CIBC Account in Coconspirator 2’s name. The account number
ended in 1716, consistent with the account number that ABBAS sent to
Coconspirator 1 in an image on October 17, 2019.
      26.    I reviewed international travel records from a law enforcement
database, which showed that Coconspirator 2 traveled from Toronto, Canada to
Los Angeles, California on October 16, 2019. This was one day before the wire
transfer from the Chase Account to the CIBC Account in Coconspirator 2’s name.
Further, as referenced above, Coconspirator 2 messaged Coconspirator 1 on
October 17, 2019 that “I’m in La.” Travel records also show that Coconspirator 2
departed Los Angeles around October 23, 2019 for Canada. Taken together, this
indicates that Coconspirator 2 was in Los Angeles at the time of the wire transfer.
      27.    Later in the day on October 17, 2019, while still in Los Angeles,
Coconspirator 2 appeared to confirm the wire transfer in an iMessage found on
Coconspirator 1’s iPhone:

             Coconspirator 1: Did the big hit?
             Coconspirator 2: Yessir




      4
        Where there are grammatical and spelling errors in the text when this
affidavit quotes ABBAS, Coconspirator 1, and Coconspirator 2, those errors are in
the original messages.

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      28.    After Coconspirator 2 appeared to confirm to Coconspirator 1 that the
money was transferred to the CIBC Account, Coconspirator 1 appeared to provide
confirmation back to ABBAS, within a minute:

             ABBAS: Sup bro
             Coconspirator 1: Confo u sent me today
             Coconspirator 1: Landed
             Coconspirator 1: Just nown

      29.    Coconspirator 1 then wrote that he was on an airplane and had just
landed. A few seconds later, ABBAS asked, “Money came in?,” and
Coconspirator 1 responded, “Yes [¶] For Canada.”
      30.    ABBAS then demanded, “Give me a screenshot.” Coconspirator 1
stated that he was not able to because his Wi-Fi signal was not strong enough, but
promised to send a screenshot.
              a.    I know, based on my training and experience, that persons
involved in fraudulently obtaining and laundering funds from BEC schemes and
other online fraud schemes often request confirmation of fraudulent transactions,
including in the form of screenshots or photographs showing proof that the funds
were transferred.
      31.    Based on my review of messages, Coconspirator 1 ultimately did not
send that screenshot. I know from law enforcement agents that Coconspirator 1
was arrested on or about October 17, 2019, in a U.S. airport, on a federal arrest
warrant, shortly after sending his last message to ABBAS.
      C.     The Foreign Financial Institution

      32.    Based on information from FBI agents investigating the cyber-heist
from the Foreign Financial Institution, I know that, on February 12, 2019, the
Foreign Financial Institution suffered a computer intrusion and cyber-heist in



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which approximately €13 million (approximately $14.7 million) was fraudulently
wired from the Foreign Financial Institution to bank accounts in multiple countries.
      33.    Coconspirator 1 and ABBAS, who used Phone Number 1 in these
communications, exchanged messages discussing the cyber-heist from the Foreign
Financial Institution. Based on my review of data from Coconspirator 1’s iPhone
and his Online Account, and discussions with FBI special agents and other law
enforcement personnel familiar with this investigation, I know the following:
             a.    In a message on January 16, 2019, Coconspirator 1 contacted
ABBAS asking for two European bank accounts that could receive “5m euro” (€ 5
million), which he said would be from the country in which the Foreign Financial
Institution is located (the “Foreign Financial Institution Country”). Coconspirator
1 stated several times that the “hit” would occur on February 12.
             b.    After some discussion, ABBAS sent Coconspirator 1 the
account information for a Romanian bank account, which he said could be used for
“large amounts.”
             c.    ABBAS further said he could provide another account, and
Coconspirator 1 said that it would be a payment of “5m”—i.e., € 5 million—to
each account.
             d.    On February 1, 2019, Coconspirator 1 told ABBAS that a
coconspirator said that “12th February they doing it[.] I have 4 spots Available[.] u
gave me 1/4[.] try to get me a next one pls it will both done at once.”
Coconspirator 1 also sent ABBAS a photograph of a computer screen containing a
messaging conversation which discussed a February 12 “drop” and a “cashout.”
             e.    On February 7, 2019, Coconspirator 1 told ABBAS, “12th feb
they lunching [sic “launching”] the swift I need 1 more from you pls.”
Coconspirator 1 later explained, “I have 6 slots in total [¶] All 5m Euro [¶] Big hit
in 12th feb [¶] They will all credit same time.”

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                    i.     SWIFT, or the Society for Worldwide Interbank
Financial Telecommunication, provides a network that enables financial
institutions worldwide to send and receive information about financial
transactions in a secure, standardized, and reliable environment. SWIFT also
sells software and services to financial institutions, much of it for use on the
SWIFTNet network. SWIFT does not facilitate funds transfers. Rather, it
sends payment orders, which must be settled by correspondent accounts that the
institutions have with each other. Each financial institution, to exchange banking
transactions, must have a banking relationship by either being a bank or affiliating
itself with one (or more) bank(s) so as to enjoy those particular business features.
                    ii.    I further know, based on my experience with this
investigation, and from FBI agents investigating Coconspirator 1 and other targets,
that hackers sometimes will attempt to conduct cyber-heists by gaining access to a
bank’s computer network and then sending fraudulent and unauthorized SWIFT
messages.
             f.     On February 10, 2019, Coconspirator 1 told ABBAS, “Brother
tonight is my dead line to submit anything more,” and then asked, “Do u want add
one more or just stick to that one u gave me ?” The next day, ABBAS responded,
and provided account information for another bank account in Bulgaria.
             g.     A photograph, dated February 13, 2019, found in Coconspirator
1’s Online Account showed a computer screen with a messaging conversation in
which Coconspirator 1 and another person discussed a number of “drops,” i.e.,
bank accounts that could receive fraudulent funds. One participant said that there
could only be “1 euro” drop, and they then discussed how many of Coconspirator
1’s drops would be used. The username known to be used by Coconspirator 1
stated, “I have 3 euro 1 usa [¶] 2 romania 1 bulgaria 1 usa.”



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             h.       On February 12, 2019, Coconspirator 1 told ABBAS, “Wire is
completed . . . We did it [¶] 500k euro ท [¶] Should be on ur side by now.”
             i.       In the conversation that followed, Coconspirator 1 told ABBAS
that there was only one wire to the account in Romania, “Sender name : tipico
group limited [¶] Country : [Foreign Financial Institution Country] [¶] Amount :
500k euro. . . It’s there now my other crew confirmed it’s there as well[.]” Later,
while they were trying to figure out whether the wire had been successful,
Coconspirator 1 added, “They did me 3 wires ( 2 to euro 1 to USA ) . . . Bank it
came from is :[Foreign Financial Institution] . . . Brother, we still have access and
they didn’t realize , we gonna shoot again tomoro am.” ABBAS then confirmed
that Coconspirator 1 was saying that the new wire would be sent to the second
bank account he provided to Coconspirator 1, in Romania.
             j.       An image of a conversation saved in Coconspirator 1’s Online
Account, dated February 12, 2019, with a person other than ABBAS, discussed a
payment specifically from the Foreign Financial Institution. The conversation in
the image stated, “my guy also deleted history logs at the bank so they won’t even
c the transaction.”
             k.       The next day, February 13, 2019, after ABBAS sent
screenshots showing that the funds had not arrived in the Romanian bank account,
Coconspirator 1 responded, “Today they noticed and pressed a recall on it , it
might show and block or never show.” Coconspirator 1 then sent an image of a
news article to ABBAS detailing the theft of funds from the Foreign Financial
Institution, followed by a message stating “Look it hit the news.” ABBAS then
replied “damn.”
             l.       Coconspirator 1 then wrote to ABBAS: “Next one is in few
weeks will let U know when it’s ready. to bad they caught on or it would been a
nice payout.”

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      D.    Additional Fraudulent Schemes and Attempted Money
            Laundering

      34.   In addition to participation in those fraudulent schemes, ABBAS and
Coconspirator 1 discussed additional BEC frauds and/or other fraudulent schemes
in 2019. These included schemes where ABBAS and Coconspirator 1 sought to
fraudulently obtain millions—and, at times, hundreds of millions—of U.S. dollars
and U.K. pounds sterling, as described below.
      35.   On March 10, 2019, Coconspirator 1 requested a bank account in the
U.A.E. from ABBAS into which approximately $5 million could be deposited
from a victim in the United States. Coconspirator 1 told ABBAS that the “job”
would be “Monday am USA time,” and, after some discussion, wrote, “Brother I
need it now or we will lose our chance pls.” ABBAS responded by providing bank
account information for an account at Commercial Bank International in Dubai,
U.A.E.
      36.   On April 30, 2019, Coconspirator 1 told ABBAS, “Brother I have 4
company’s in uk ready to switch bank acc on file but acc has to be open
beneficiary.” After some discussion, Coconspirator 1 further stated, “I have a
room working for me , we have leads and company contracts . My guy r changing
acc on file for 100m contracts and there payment are once or twice a week 1-5m
[¶] I have 4 ready to switch up.”
             a.    Based on my training and experience, it appears Coconspirator
1 was referring to a BEC scheme, because BEC schemes often involve a hacker or
fraudster tricking a victim into sending a payment to a coconspirator’s account by
switching bank account information on payment instructions provided to the
victim. I also know that an “open bene” or “open beneficiary” account is a bank




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account where a different business account name can be substituted to help in
deceiving the victim into sending funds.
             b.    It thus appears that Coconspirator 1 was telling ABBAS that
coconspirators were fraudulently obtaining $1 million to $5 million through a
BEC scheme once or twice a week, and was asking ABBAS for a bank account
that could be used to receive such funds.
      37.    On May 3, 2019, Coconspirator 1 told ABBAS, “I need uk open
beneficiary acc for Monday bro !!!!! [¶] Today I they paid me.” Coconspirator 1
also sent ABBAS an image of a message from another person saying, “Yo [¶] 3
invoices totaling 1.1 M going into that account today . . . 346k 256k and 507k.”
Coconspirator 1 then said, “Bro I have a room ready.” In the resulting discussion,
Coconspirator 1 told ABBAS that he was “doing invoice account swap” and
needed “account open beneficiary.” When ABBAS asked, “Which country,”
Coconspirator 1 responded, “U tell me what country is best i attack [¶] But [¶] I
have uk [¶] Ready live.”
      38.    On May 7, 2019, Coconspirator 1 sent ABBAS a photograph of an
apparent banking website showing a transaction “due to be paid” of approximately
1,110,447 of some currency, which is around the same amount as the discussion
described in the prior paragraph. Coconspirator 1 then wrote, “I sent 1.1m pound
WR DFF WKH\ VDLG RSHQ EHQ LQ XN PRQH\ ODQGHG DQG QRZ WKH\ DVNLQJ TXHVWLRQV ƃ ,
have other companies ready to swap bro pls help me out I am losing millions.”
ABBAS then stated, “I will paste u one today,” and Coconspirator 1 responded,
“When we swap bro the only thing we change is iban or acc on file and we keep all
other info as original but we can put acc name on the memo , u need acc that can
handle millions and not block.” The next day, after Coconspirator 1 stated,
“Brother my guy can do refund to any visa debit card [¶] Just need card number
exp and name,” ABBAS and Coconspirator 1 had some additional discussion that

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appeared to be about credit card numbers, culminating with ABBAS providing
bank account information for an account in Mexico.
      39.    On May 12, 2019, Coconspirator 1 wrote to ABBAS, “Brother tonight
we are gonna swap ur acc on a big contract payments will be 3-6m every week [¶]
I give u confirmation in 12he [¶] From uk.” After ABBAS acknowledged the
message, Coconspirator 1 wrote on May 13, 2019, “Your acc has been updated on
file , give me 2hr I will send unall details my workers just went to sleep.” ABBAS
responded, “Waiting.”
      40.    Coconspirator 1 then sent messages to ABBAS about the apparent
victims. First, Coconspirator 1 sent the name of an English Premier League
football club, listing the club’s address as the stadium where the club plays.
Coconspirator 1 also wrote, “Amount 100M £,” indicating that the fraudulent
transaction would be for ǧ 100 million. Second, Coconspirator 1 sent the name of
a U.K. company with an address in Edinburgh, Scotland, and wrote, “Amount
200m £.” Coconspirator 1 then added, “We swapped ur acc under 2 contracts .
Tomorow morning we will send u the previous payment and amount with future
paymanet and amount [¶] Can I have 1 more for tomorow to swap pls.”
      41.    In response, ABBAS stated, “Bro [¶] I can’t keep collecting houses n
not give them a feed back n keep asking for more [¶] This things cost a lot of
money now to open.” ABBAS and Coconspirator 1 then discussed the use of the
account, and Coconspirator 1 sent a photograph of a computer screen showing the
Mexican bank account information with the name of a U.K. company, with a U.K.
address, substituted as the beneficiary information. ABBAS responded, “When it’s
done let me know.”
              a.   I know based on my training and experience, and from other
FBI agents who have experience with these matters, that Nigerian-origin subjects
sometimes use the words “aza” (sometimes “azar,” “azza,” or “azah”) or “house”

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to refer to a bank account used to receive proceeds of a fraudulent scheme. The
word “house” is also sometimes used to refer to a bank itself. I observed that, in
other messages with ABBAS, Coconspirator 1 used the term “azza,” in addition to
using the term “house.” (While Coconspirator 1 is not Nigerian, he is known to
have communicated with multiple Nigerian-origin coconspirators.)
      42.    On July 3, 2019, Coconspirator 1 reported to ABBAS, “Brother I
can’t send from uk to Mexico they keep finding out , but uk 2 uk these guy keep
paying and I can show u my last week cashout.” He also added that another
coconspirator “has acces to a European bank and want to initiate a MT103/202 10-
50 million if u know about it.”
             a.    I know based on my training and experience that MT103 and
MT202 are types of SWIFT messages. It thus appears that Coconspirator 1 was
referencing a cyber-heist scheme in which a coconspirator would be able to make
fraudulent transfers of 10 million to 50 million in dollars or euros.
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